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               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Steven Huie, being first duly sworn, herby depose and state as follows:

                                 PURPOSE OF THE AFFIDAVIT
       1.      This Affidavit is submitted in support of Criminal complaints for Christina

GERDING (hereinafter “C. GERDING”), and Jason GERDING (hereinafter “J. GERDING”)

charging violations of 18 U.S.C. § 1752(a)(1) and (2); and 40 U.S.C. §§ 5104(e)(2)(D) and (G).

                                    BACKGROUND OF AFFIANT

       2.      I have been a Special agent with the Federal Bureau of Investigation (“FBI”) since

March 2016. I am assigned to the Washington Field Office, where, in addition to my regular

duties, I am currently tasked with investigating criminal activity in and around the Capitol grounds.

       3.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

                  STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       4.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
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session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.

Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       6.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       7.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       8.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the
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Senate Chamber until the sessions resumed.

       9.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

       10.     Following this incident, law enforcement agencies received numerous tips from the

public. Tips identified C. GERDING and J. GERDING as two subjects that participated in the

events in the United States Capitol on January 6, 2021. One tip provided a Twitter account linked

to J. GERDING with account name “@Gerding_Jason” (hereinafter the “TWITTER

ACCOUNT”). This account name is consistent with J. GERDING’S first and last name.

       11.     The FBI reviewed the TWITTER ACCOUNT, which was unlocked and available

to be viewed by the public. The following image includes the banner and initial view of the

TWITTER ACCCOUNT. The TWITTER ACCOUNT had a tagline of “We The People Have

Woken” and a profile picture of Donald Trump with a “Q” background. Based on my training,

knowledge, and experience, I believe the “Q” in the banner refers to “QAnon.” QAnon is generally

a loosely affiliated network and community of people who believe in a number of conspiracy

theories. The letter “Q” is utilized by its believers to identify themselves.
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       12.     On December 18, 2020 the TWITTER ACCOUNT posted the following image:




       13.     On December 21, 2020, the TWITTER ACCOUNT tweeted the following

message, which appears to refer to the January 6, 2021, rally.
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         14.   On December 26, 2020, the TWITTER ACCOUNT tweeted the following message

referencing that he trusts “the plan” and will be “in DC Jan 6th.”




         15.   On January 6, 2021, at 15:22 the TWITTER ACCOUNT posted the following

image:
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           16.     According to Capitol Police this photo appears to have been taken in the Capitol

Rotunda. J. GERDING and C. GERDING appear to be standing in front of a painting entitled the

“Declaration of Independence” by John Trumbull. This painting is listed as hanging in the Capitol

Rotunda on the Architect of the Capitol website. 1

           17.     On January 8, 2021, another Twitter user, referencing the image above, posted a

message stating “Here’s two people from Quincy, Illinois who took part in the Capital [sic] Hill

insurgance [sic]!!!” (image below). According to Illinois government records, C. GERDING and

J. GERDING reside in Quincy, IL.                Attached to that message, was an image of a group

conversation that appears to be on Facebook (image below) under the name “Christina Gerding.”

This is consistent with C. GERDING’S first and last name. In the group conversation username

“Christna Gerding” posted the above photo with the text “Quincy made it inside.” A member of




1
    See https://www.aoc.gov/explore-capitol-campus/art/declaration-independence.
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the group chat responded, “hope they lock yours [sic] ass up.” Username “Christna Gerding”

responded “well since they let us inside; opened the door for us I think I’ll be just fine.”
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       18.    On January 6, 2021, the following photograph image was posted on a Facebook

account with username “Jason Gerding.” According to Capitol Police, this bust of George

Washington is near the Memorial Door inside the Capitol, which is in the House Wing.
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       19.     A search of Illinois government records returned a photograph for C. GERDING

that appears consistent with the physical appearance of the female subject in the photograph in

front of the painting referenced above. Similarly, a search of Illinois government records

returned a photograph for J. GERDING that appears consistent with the physical appearance of

the male subject in the photograph in front of the painting referenced above.

       20.     Additionally, your affiant spoke with W-1, one of the individuals who had provided

a tip to law enforcement about the identity of C. GERDING. During the interview, W-1 advised

that it had known C. GERDING for more than a year and interacted with C. GERDING on

numerous occasions. W-1 had seen J. GERDING on C. CERDING’S social media a number of

times. W-1 confirmed that C. GERDING was the individual in the photograph inside the Capitol

and recognized J. GERDING from previously seeing him on C. GERDING’S social media. W-1

also confirmed that C. GERDING and J. GERDING live in Quincy, Illinois.
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       21.     Based on the foregoing, your affiant submits that there is probable cause to believe

that C. GERDING and J. GERDING violated Title 18 U.S.C. § 1752(a)(1) and (2), which makes

it a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful

authority to do so; (2) knowingly, and with intent to impede or disrupt the orderly conduct of

Government business or official functions, engage in disorderly or disruptive conduct in, or within

such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,

impedes or disrupts the orderly conduct of Government business or official functions; For purposes

of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise

restricted area of a building or grounds where the President or other person protected by the Secret

Service, including the Vice President, is or will be temporarily visiting; or any building or grounds

so restricted in conjunction with an event designated as a special event of national significance.

Your affiant also submits there is probable cause to believe that C. GERDING and J. GERDING

violated 40 U.S.C. § 5104(e)(2)(D), which makes it a crime to utter loud, threatening, or abusive

language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of

the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session

of Congress; and 40 U.S.C. § 5104(e)(2)(G) which makes it a crime to parade, demonstrate, or

picket in any of the Capitol Buildings.

                                                      _________________________________
                                                      Special Agent Steven Huie
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.
                                                                      2021.01.21
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                                                                      -05'00'
                                                      ___________________________________

                                                      ZIA M. FARUQUI

                                                      U.S. MAGISTRATE JUDGE
